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AO 91 (Rev. 01/09) Crlmirlal Complalnt

UNITED STATES DISTRICT COURT

 

for the
Southern District of Ohio
United States of America )
v. ) '~
Jason De|co| ) Case No.’Q_- l Y'U _ l 3 44
)
)
De;,fé)tdam
CRIMINAL COMPLA]NT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of 04101/2017 in the county of De|aware in the Southern District of
Ohio , the defendant violated 21 118 U. S. C. § 841 l 846 l 333 11512 , an offense described as follows:

1) 21 U.S.C. § 841-Possessi0n with the |ntent to Distribute and Distribution of Contro||ed Substances
2) 21 U.S.C. § 846_Conspiracy to Possess With the |ntent to Distribute and to Distribute Contro||ed Substances
3) 21 U.S.C. § 333(e)_Possession with the |ntent to Distribute and Distribution of Human Growth Hormone

4) 18 U.S.C. § 1512(b)(3)-V\thess Tampering

This criminal complaint is based on these facts:

See Attached Affidavit.

d Continued on the attached sheet.

 

Sworn to before me and signed in my presence.
Date; 02/26/2018

City and state: Co|umbus, Ohio

 

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AFFIDAVIT IN sUPPoRT or ARREST wARRAN'rs AND
sEARCH AND sEIZULE wARR_ANTs

I, Tisha M. Hartsough, a Special Agent with the F ederal Bureau of Investigation, hereinafter
referred to as the Affiant, being duly sworn, depose as follows:

INTRODUCTION

I have been employed by the federal Bureau of Investigation for 16 years. l am assigned to the
Columbus Resident Agency, Cincinnati Division, where I have investigated violations of many
State and Federal laws, including crimes of violence, drug trafficking, public corruption and civil
rights violations, as well as crimes related to terrorism. Relative to this affidavit, I have been
trained to investigate and have directed and participated in numerous drug trafficking and law
enforcement corruption investigations Based upon my training, experience and my review of the
evidence gathered by investigators assigned to this investigation, there is probable cause to
believe that the requested warrants will find information that constitutes evidence of the
commission of and/or information intended for use or which is or has been used as a means to
commit the criminal offenses listed below. There is also probable cause to believe the individuals
listed below committed the crimes listed below.

PURPOSE OF AFFIDAVIT

The facts and information contained herein are based on my personal knowledge and experience,
that of other law enforcement personnel, surveillance operations, text and phone records,
financial records, other documents and from persons with knowledge regarding the relevant facts
and witnesses This affidavit is intended to show only that there is sufficient probable cause for
the requested warrants and does not set forth all of my knowledge about this matter.

This affidavit is being submitted for the purpose of obtaining arrest warrants and will establish
there is probable cause to believe the following individuals have committed the following

crimes:
Nicholas Glassburn, DOB 11-27-1970

21 U.S.C. § 841~Possession with the Intent to Distribute and Distribution of Controlled
Substances

21 U.S.C. § 846_Conspiracy to Possess with the Intent to Distribute and to Distribute
Controlled Substances

18 U.s.c. § 1956(3)(1)(A)(i)_M0ney Laundering

Jason Delcol, DOB 8-13-1974

21 U.S.C. § 841-Possession with the Intent to Distribute and Distribution of Controlled
Substances

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21 U.S.C. § 846_Conspiracy to Possess with the Intent to Distribute and to Distribute
Controlled Substances

21 U.S.C. § 333(e)_Possession with the Intent to Distribute and Distribution of Human
Growth Hormone

18 U.s.c. § 1512(b)(3)_wimess rampsan

Carlos Carvalho, DOB 10-27-1975

21 U.S.C. § 841_Possession with the Intent to Distribute and Distribution of Controlled
Substances

21 U.S.C. § 846_Conspiracy to Possess with the Intent to Distribute and to Distribute
Controlled Substances

18 U.S.C. § l956(a)(l)(A)(i)_l\/ioney Laundering

Stevedore Crawford, DOB 12-9-1962

21 U.S.C. § 841_Possession with the lntent to Distribute and Distribution of Controlled
Substances

21 U.S.C. § 846_Conspiracy to Possess with the Intent to Distribute and to Distribute
Controlled Substances

William Covrett, DOB 1~27-1977

21 U.S.C. § 841-Possession with the Intent to Distribute and Distribution of Controlled
Substances

21 U.S.C. § 346_Conspiracy to Possess with the lntent to Distribute and to Distribute
Controlled Substances

18 U.S.C. § 1956(a)(1)(A)(i)_Money Laundering
Benjamin Owings, DOB 3-27-1980

21 U.S.C. § 841_Possession with the Intent to Distribute and Distribution of Controlled
Substances

21 U.S.C. § 846 -~-Conspiracy to Possess with the Intent to Distribute and to Distribute
Controlled Substances

21 U.S.C. § 333(e)_Possession with the lntent to Distribute and Distribution of Human
Growth Hormone

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This affidavit is also being submitted for the purpose of obtaining search warrants for the
following locations and cell phones:

Items and locations related to Nicholas GLASSBURN

Residence located at 97 Rheem St., Delaware, OH 43015, residence of Nicholas
GLASSBURN

Cellular phone associated with 740-972-3275, used by Nicholas GLASSBURN
Cellular phone associated with 614-581-4765, used by Nicholas GLASSBURN
Cellular phone associated with 740-417-5843, used by Nicholas GLASSBURN

Residence located at 22 Estelle St., Delaware, OH, used by PERSON A, a person in an
intimate relationship with GLAS SBURN

Cellular phone associated with 740-815-2859, used by PERSON A
Cellular phone associated with 740-417-5414, used by PERSON A

Cellular phone associated with 740-994-1660, used by a relative of GLASSBURN and in
contact with DELCOL’ S cell phone

Items and locations related to Jason DELCOL

Residence located at 201 Aaron Ct., Delaware, OH 43015, residence of Jason DELCOL
2004 White Acura bearing OH license HAS 6097, VIN 19UUA66224A058591

2006 Black Honda Ridgeline bearing OH license 12BSPLD, VIN 2HJYK16516H560194
Cellular phone associated With 740-816-6319, used by .1 ason DELCOL

Iterns related to Carlos CARVALHO

Cellular phone associated with 970-343-9395, used by Carlos CARVALHO

Items and locations related to Stevedore CRAWFORD

Residence located at 1100 Mediterranean Ave., Colu.mbus, OH 43229, Room #322,
Baymont Inn and Suites, residence of Stevedore CRAWFORD

Cellular phone associated with 614-483-9231, used by Stevedore CRAWFORD

1989 Maroon Mercedes-Benz bearing OH license JAYLASD, VIN
WDBEA30D8KA833189

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Items and locations related to Benjamin OWINGS

Residence located at 662 Fern Dr., Delaware, OH 43015, residence of Benjamin
OWINGS

Cellular phone associated with 740-360-1934, used by Benjamin OWINGS

Items related to William COVRETT
Cellular phone associated with 586-242-7790, used by William COVRETT

The places to be searched and the things to be seized are more particularly described in

' Attachments A and B. There is probable cause to believe Nicholas GLAS SBURN, Jason
DELCOL, Stevedore CRAWFORD, William COVRETT, Benjamin OWINGS, Carlos
CARVALHO and others are using the above listed locations and devices as means to conduct
criminal activity. There is also probable cause that evidence of crime will be present in the places

to be searched.
INVESTIGATIVE BACKGROUND

ln June 2017, the Delaware County Drug Task Force (DCDTF), working in conjunction with the
Federal Bureau of lnvestigation (FBI), opened a criminal investigation into Nicholas
GLASSBURN. DCDTF gathered evidence that identifies GLASSBURN as a mid-level drug
trafficker, operating in the greater Delaware, Ohio area. The investigation of this drug trafficking
operation has identified others believed to be sources of supply of the drugs trafficked by
GLASSBURN. The investigation has uncovered an active law enforcement officer, Jason
DELCOL, who is receiving drugs from and providing drugs to GLAS SBURN and at least one
other person. The investigation has also shown DELCOL use his position as a law enforcement
officer to provide GLAS SBURN with information, intervene in criminal cases of GLASSBURN
and another drug trafficking associate (OWINGS), provide GLAS S'BURN with ballistic vests,
and corroborate GLAS SBURN’S alibi to law enforcement when GLASSBURN was caught
transporting drugs in August 2017.

Numerous investigative techniques including physical and electronic surveillance have been used
to corroborate information provided by multiple informants and to observe activities consistent
with drug trafficking by GLASSBURN, DELCOL and others throughout this investigation

From October 2017 to December 2017, multiple F ederal search warrants were executed to obtain
the content of text messages for Nicholas GLASSBURN and Jason DELCOL, as well as for the
content of information stored on the cloud associated with the cell phones of GLASSBURN and
DELCOL. This information showed conversations consistent with drug trafficking activity by
both GLAS SBURN and DELCOL. The records for GLASSBURN showed conversations about
drug trafficking activities between GLASSBURN and Carlo`s CARVALHO, between

GLAS SBURN and Stevedore CRAWFORD, between GLASSBURN and Williarn COVRETT,
and between GLASSBURN and others. Text content and stored cloud data for DELCOL
showed conversations about drug trafficking activities between DELCOL and GLAS SBURN,
and between DELCOL and Benj amin OWINGS. Text conversations between GLASSBURN
and DELCOL show DELCOL is providing HGH, testosterone and other illegal drugs to

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GLASSBURN, at least some of which are being purchased by DELCOL from OW[NGS, and
GLAS SBURN is supplying DELCOL with Xanax, OXycodone or Percocet and other illegal
drugs, some of which DELCOL is distributing to OWINGS.

GLAS SBURN’S text messages show he is supplied cocaine, crack cocaine and pills by
Stevedore CRAWFORD. CRAWFORD’S criminal history includes convictions for Theft by
Force, Felonious Assault, Aggravated Robbery and Felony Drug Trafticking.

GLASSBURN’S text messages show he is supplied marijuana by Carlos CARVALHO.
CARVALHO’S criminal history includes a conviction for Battery. `

GLASSBURN’S text messages show he is supplied marijuana, Xanax and prescription pain pills
by William COVRETT, who travels to Michigan to obtain the drugs he distributes to
GLASSBURN. William COVRETT’S criminal history includes a charge for Theft without
consent and an arrest on November 1, 2017 for possessing drug paraphemalia.

Photos found stored on the cloud account for GLAS SBURN included things such as wire
transfer receipts, drug ledgers, pink pills, gray pills, blue pills, marijuana, mail addressed to
GLAS SBUR_N at 22 Estelle Street, Delaware, Ohio, and images of a boat and Carlos
CARVALHO. Photos found stored on the cloud account for DELCOL included things such as
vials of Winstrol V, multiple vials of unknown substances, guns, gun parts, a man’s hand holding
cash farmed out in fi'ont of a steering wheel of an Acura and a man’s hand holding cash farmed
out inside what appears to be DELCOL’S residence from other photos found within DELCOL’S

cloud information

Throughout this investigation a primary means of communication between subjects has been
cellular telephones GLASSBURN has used at least four cellular telephone numbers throughout
this investigation The cellular telephone numbers identified as being used in this criminal

investigation are as follows:

CPl: 740-972-3275, used by and subscribed to Nicholas GLASSBURN at 97 Rheem
St., Delaware, OH

CP2: 614-581-4765, used by Nicholas GLASSBURN - a pre-paid cell phone number
provided to GLAS SBURN’S Probation Ofiicer by PERSON A as a contact
number for GLAS SBU`RN

CP3: 740-417-0306, used by Nicholas GLAS SBUR_N ~ a pre»paid-Tracfone

CP4: 740-816-6319, used by and subscribed to by Jason DELCOL at 201 Aaron Ct.,
Delaware, OH

CPS: 970-343-9395, used by and Subscribed to by Carlos CARVALI-IO at 78 E.
Chestnut St., Columbus, OH

CP6: 614-483-9231, used by and subscribed to by Steve CRAWFORD at PO Box
54498, lrvine, CA

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CP7: 586-242-7790, used by and subscribed to by William COVRETT, at 1192
Columbus Pike, Delaware, OH

CPS: 740-360-1934, used by Benjamin OW]NGS and subscribed to by Benjamin
OW]NGS at 4433 Gooding Rd., Marion, OH

CP9: 740-815-2859, used by PERSON A and subscribed to by Nicholas GLASSBURN

CP10: 740-417-5843, provided by Nicholas GLASSBURN at his January 31, 2018 arrest
as a contact number

CPl l: 740-417-5414, provided by PERSON A at her January 31, 2018 arrest as a
contact number

CP12: 740-994-1660, provided by PERSON A at her January 22, 2018 traffic stop as a
contact number for her, but as belonging to a relative of GLAS SBURN

INFORMATION PROVIDED BY COOPERATING INDIVIDUALS

During the course of this investigation investigators have received information from at least
seven individuals who have been proven reliable and whose information has been corroborated
The majority of these individuals have been interviewed on multiple occasions separate and apart
from each other. These informants reported that Nicholas GLASSBURN sells prescription
medications such as Percocet, Vicodin and Suboxone, as well as cocaine, crack cocaine and
marijuana Two of the informants reported knowing GLAS SBURN transports drugs in a lunch
box or box within his vehicle. All informants reported knowledge that GLAS SBURN maintains
and sells drugs at his residence at 97 Rheem Street in Delaware, OH. These informants know
GLASSBURN is regularly supplied cocaine and crack cocaine from Stevedore CRAWFORD,
who lives in Columbus, and GLASSBURN is supplied marijuana from a person named ‘Carlos’
[known to investigators as Carlos CARVALHO] who resides in or near Sandusky, Ohio. ln the
Surnmer of 2017, one informant estimated GLAS SBURN was getting two to four ounces of
cocaine a week from CRAWFORD. And one informant was present when GLASSBURN
picked up a duffle bag full of vacuum-sealed bags of marijuana from CARVALHO on his boat at
a marina in the Sandusky area. At that time, GLASSBURN told the informant that
CARVALHO had an additional large amount of marijuana stored on the boat.

A number of these informants reported that GLASSBURN was in debt to CARVALHO for
approximately 817,000 in the summer of 2017 for marijuana CARVALI-IO provided. The
informants reported knowing GLASSBURN was able to repay the debt by obtaining money from
a woman who had inherited money and who bought crack cocaine from GLAS SBURN, as well
as by doing labor on CARVALHO’S boat. According to multiple informants, before
GLASSBURN was able to repay the debt, he obtained a ballistic vest nom Ohio State Highway
Patrol (OSP) Trooper Jason DELCOL, which he then wore to meet with CARVALHO to discuss
his outstanding drug debt. More than one informant reported that GLASSBURN owns a large
number of firearms GLAS SBURN reportedly took one of the firearms with him to meet with
CARVALHO while wearing the ballistic vest. These informants have seen the frrearms within
plain view at 97 Rheem Street, and two of the informants reported direct knowledge of

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GLASSBURN having moved large amounts of long guns and handguns in and out of 97 Rheem
Street.

Multiple informants reported knowing Trooper DELCOL protected GLAS SBURN. They
reported knowing DELCOL and GLAS SBURN have been friends for many years, that DELCOL
gives GLASSBURN inside information such as what types of license plates indicate undercover
police vehicles, that DELCOL makes frequent visits, that are short in duration to

GLAS SBURN’S residence at 97 Rheem Street in Delaware and that GLASSBURN supplies
DELCOL with prescription drugs. One informant reported GLAS SBURN makes anyone who is
in the house leave the room when DELCOL arrives. Another informant reported seeing
GLASSBURN hand a baggie of pills to DELCOL while at 97 Rheem Street. One informant
reported seeing DELCOL carry two ballistic vests into the back entrance of 97 Rheem Street.
This was around the time of the reporting that GLASSBURN owed CARVALHO the large sum
of money. This reporting is consistent with another time, on April 14, 2017, when DELCOL,
using CP4, texted GLASSBURN a message on CPl saying, “Heyl am cleaning would u want a
vest? Not a regular vest.” To which GLASSBURN replied, “Yes.” (Throughout this affidavit,
your affiant has reproduced text messages verbatim, including any errors, rather than writing

[sic] after each error.)

An extensive amount of text messages associated with CPl and CP4, CPS, CP6, CP7, CPS and
CP9, which were obtained as a result of the search warrants, corroborate much of what was
reported by the informants and observed by surveillance methods in this investigation

F or example, text messages were found to coincide in time with informant reporting regarding
GLASSBURN owing CARVALHO money. Text messages obtained from Verizon Wireless
Network (hereinafter referred to as VZW) dated July 10, 2017 for CPl, show GLASSBURN,
using CPl and PERSON A, using 740-815-2859 (hereinafter referred to as CP9), discussing a
desperate need for money and ways GLASSBURN could raise money, followed by
GLASSBURN traveling to Port Clinton where CARVALHO lives after it appears he obtained

the money to repay CARVALHO.

On .Tuly 10, 2017, at approximately 12:24pm, PERSON A sent a text from CP9 to CP1
saying, “And also what does she think $3,400 is going to do out of a total of $17,000
owed??‘??”

Later in the day on July 10, 2017, at approximately 5:42pm and 6:08pm, text messages
between GLASSBURN, using CPl, and PERSON A, using CP9, show discussions about
check cashing businesses such as Loanmax and Cashland after it appears from the
content of their texts that GLASSBURN was able to meet with someone who gave him

money.

After PERSON A texted him, “Are you there yet,” GLASSBURN responded at
approximately 12:30am on July 11, 2017, “Yes. Travelodge room 112 Port Clinton”

Also, there are text messages that corroborate informant information regarding guns being
moved. For example, on July 28, 2017 at approximately 8:36am, a text message was sent from
GLASSBURN, using CPl, to PERSON A, using CP9, which says: “Put guns with the other

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inbox truck. Decided not to leave other bags there. 'l`hat’s just wrong without her knowing...so l
am running them to Marion Be back shortly. Waiting for a response from Jason also.” The
Jason referred to in this text is believed to be Jason DELCOL.

GLASSBURN AND FIREARMS

in addition to informant information provided regarding GLASSBURN’S possession of firearms,
on November 30, 2017, at approximately 4:30am, surveillance observed an unknown female
arrive in a vehicle at 97 Rheem Street, and she along with GLASSBURN carried what appeared
to be eleven long guns into the residence from the vehicle. On the following day, December 1,
2017, at approximately 11:03 am, GLASSBURN and a different female were observed carrying
four long guns and what appeared to be two handgun boxes out of 97 Rheem Street and placed
them in a Nissan Pathfmder, which had been driven by GLASSBURN. The two left in the
Pathfrnder and the guns were never seen by surveillance again

During a traffic stop of PERSON A on January 22, 2018, five long guns were removed nom her
vehicle. Two handguns were removed from her vehicle on January 31, 2018 when she was
arrested on an outstanding warrant for Contributing to the Delinquency of a Minor. Surveillance
showed PERSON A was at 97 Rheem St. and 22 Estelle St. at some point during each of the
days she was encountered by law enforcement All guns were seized by law enforcement for
safekeeping. Investigation had shown PERSON A had taken numerous guns to be pawned, one

of which was stolen

Your Affiant has reviewed GLASSBUR.N’ S criminal history from the Law Enforcement
Automated Network. The criminal history lists arrests for aggravated burglary, complicity to
aggravated burglary, domestic violence and assault. The criminal history shows GLASSBURN
was sentenced to serve 5 to 15 years for complicity to felonious assault and 18 months for
breaking and entering, to be served consecutive with a 6 month sentence for illegal conveyance
of weapons GLASSBURN began serving his prison sentence for those crimes on May 9, 1990
and was paroled on June 1, 1999. Because GLASSBURN has been convicted of a crime
punishable by imprisonment for a term exceeding one year, federal law prohibits him from

possessing a firearm.

DRUG TRAFFICKING ACTIVITY BY GLASSBURN

Investigative methods have confirmed that, in addition to DELCOL, GLASSBURN has at least
three main sources of supply for the drugs he is selling.

Carlos CARVALHO

CARVALHO was identified by three separate informants as the supplier of marijuana to
GLASSBURN. Two of the informants had been to a boat owned by CARVALHO where
marijuana was stored. lnvestigation has revealed the boat was dry docked at the Sandusky
Harbor Marina, 1 Huron Street, Sandusky, Ohio and CARVALHO resides at 703 Lincoln Ct.
Apt. A, Port Clinton, Ohio. Analysis of toll records shows CARVALHO, using CPS, and
GLASSBURN, using CPl, CP2 and CP3, have had 1282 contacts from June 1, 2017 to January
5, 2018. [The absence of calls since January 5, 2018, could be due to the trach stop of
CARVALHO described below.] lnvestigation has shown GLASSBURN has traveled on

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multiple occasions to Port Ulinton to visit CARVALI-IO and CARVALHO has visited
GLAS SBURN’S residence at 97 Rheem Street on at least four occasions since October 5, 2017.

Court authorized electronic surveillance has shown that on multiple occasions GLASSBURN
called and texted with DELCOL at times immediately surrounding his trips to Port Clinton to
visit Carlos CARVALHO. This is significant because text conversations between GLASSBURN
and CARVALHO show GLAS SBURN travels to the Port Clinton/Sandusky area with large
sums of money for drug purchases and on some occasions, illegal narcotics, and it is known to
investigators that DELCOL has covered for GLASSBURN when he was encountered by law
enforcement with drugs in Mt. Gilead, Ohio. On Sunday August 27, 2017, DCDTF established
an electronic virtual “fence”, otherwise known as a geo-fence, around CPl, which would send an
alert when CPl entered a geographic location in the Sandusky, Ohio area, near the marina where,
according to one informant, CARVALHO’S boat is docked. At8:40 pm, CPl received an
incoming text message from DELCOL, using CP4. At 10:07 pm, CPl entered the geo fence
surrounding the Sandusky, Ohio area and Pen Register data indicated CPl was hitting on cellular
towers in the Sandusky, Ohio area. This continued through approximately 11:00pm when CPl
returned to the Delaware, Ohio cellular towers.

In another exarnple, on September 7, 2017, DCDTF received notification at 8:25pm that CPl
was hitting cellular towers in the Sandusky, Ohio area. CPl returned to hitting the Delaware,
Ohio towers at approximately midnight on September 7, 2017. A closer review of Pen Registers
reflected that CPl had departed Delaware on September 7, 2017, in the early morning hours and
hit on cellular towers in the Port Clinton, Ohio area throughout the day until 8:25pm when CPl
was hitting the Sandusky, Ohio towers. CPl had received 6 incoming text messages from CP4
and placed one outgoing text message to CP4 between 10:28am and 6:22pm on September 7,
2017. CPl sent 6 text messages to CPS, CARVALHO’S cell phone, and received 6 text
messages n'om CP5 between the hours of 2:07am and 4:00pm on September 7, 2017. The
content of the above referenced September 7, 2017 text messages were not included in
information provided by VZW in response to the October 2, 2017 search warrant for information

stored by VZW.

Text conversations between CARVALHO, using CPS, and GLAS SBURN, using CPl, show the
use of coded language to discuss drug trafficking transactions Terms such as “tshirts” and
“seminars” appear to mean marijuana and trips to Colorado to pick up marijuana [It should be
noted that while it is possible CARVALHO participates in professional seminars in Colorado,
these seminars would be of no relevance to GLAS SBURN. Additionally, on some trips
monitored by law enforcement, CARVALHO arrived in Colorado during non-business hours and
turned immediately around to head back to Ohio.] Your Affiant knows drug traffickers use
coded language when communicating in an effort to avoid detection by law enforcement

One example of a text conversation containing code occurred on May 27, 2017, when
CARVALHO texted GLASSBURN and said, in part, “The tshirts work good?” GLASSBURN
replied, “They’ve gone over really well. I’m a little slower getting rid of them then usual getting
back in the groove but everything is fme.” In another such conversation on June 6, 2017,
CARVALHO texted GLASSBURN, “how is the tshirt good??”. GLAS SBURN replied, “Slow
but good. This weekend will be the frrst of the month. Im expecting sale to be back on trac .”
[Your Affiant knows the first of the month is when public assistance checks are delivered, which

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provides some drug users the money to purchase drugs.] CARVALHO responds, “Cool. I’ll try
to set a trip for end of the month then.”

ln another series of texts on September 21, 2017, CARVALHO texted GLAS SBURN and said in
part, “Also my seminar is been plan for the 29“1. Next Friday. You should be done with tshirts?!
Let me know brother.” GLASSBURN replied in part, “Hey there big dog Yes we should be
done and everything should be fine for the seminar.”

Text messages and surveillance show that CARVALHO often meets with GLASSBURN to
collect money before making trips to Colorado. They sometimes refer to the money as
“pictures”. For the trip planned for September 29, 2017, referred to in the previous paragraph,
text records show CARVALHO texted GLAS SBURN on September 26, 2017, and said in part,
“See you Thursday? Are u corning up I’m going down?” GLASSBURN did not reply. On
September 28, 2017, CARVALHO texted GLASSBURN and said, “hey brother do l see u
tomorrow? U coming up I’m going down? Let me know boss.”

As reported by informants, there are times when CARVALHO needed to collect money from
GLASSBURN but GLASSBURN was non responsive ln text messages, CARVALHO persisted
in trying to determine when GLAS SBURN would come through with money. In one text on
October 10, 2017, CARVALHO said to GLASSBURN, “Hey boss. Hope we everything is on
schedule. Our friends are not so happy with me to not show up today :( Don’t be to late l need to
go to the bed early brother.” There was no response from GLASSBURN and after another text
prompting GLASSBURN to answer, CARVALHO texted on October 11, 2017, “Hey brother
l’m in a really bad situation here. You need to talk to me. What is going on. ”, and “l been
calling you all day?”, and “‘?'?'?‘?'?‘?2‘7”. On October 13, 2017, GLASSBURN texted, “I’m stuck

until 9arn when the bank opens brother”. CARVALHO told GLAS SBURN he needed to leave
for Colorado and that he would wait to meet up with GLASSBURN because, as he said on

October 15, 2017, he “can’t leave without the picture.”

Sometimes GLASSBURN receives drugs from CARVALHO on consignment and discussions
can be seen in text messages about the repayment For example, on June 1, 2017, it appears
GLASSBURN had someone deliver money to CARVALHO and CARVALHO texted

GLAS SBURN, “Hey brother 3730 on the package [package emoji]. I don’t know who count
that but total here was 3730. 270 short. What is the schedule???” GLASSBURN replied,
“Wow. ...Sticky fmgers. [pouting face emoji]. I’ll bring the difference And go over schedule
with you.” lt is presumed the schedule refers to the repayment schedule.

On August 28, 2017, text conversations between GLASSBURN and CARVALHO indicate
GLASSBURN is sending money to Colorado for CARVALHO via a wire transfer through
Walmart. As will be seen later in this affidavit, GLASSBURN also uses Walmart money
transfers in the name of PERSON B to send large amounts of cash to purchase drugs in
Michigan CARVALHO says, “Hey boss did you set up the Walmart thing?” Later,
GLASSBURN told CARVALHO he will have it taken care of by 8:30. On August 30, 2017,
CARVALHO told GLASSBURN and said, in part, “I’m meeting the Landlord tomorrow. Did
you send me the walmart thing?? There was no reply from GLAS SBURN until August 31,
2017, when he texted CARVALI-IO and said, “Need a State it’s being sent to. . ..Colorado?” , and
“l guess what state is going to be picked up in.” CARVALHO replies, “Yes Colorado.”

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GLAS SBURN then writes, “To yo from [PERSON B.]” Your Affiant knows drug traffickers
use wire transfers to send large sums of cash to avoid the risk of encountering law enforcement

while driving with cash.

On October 9, 2017, CARVALHO was seen arriving at 97 Rheem Street where he waited for
GLAS SBURN to arrive. After following GLASSBURN into the residence, CARVALHO came
back out of the house rolling a medium to large size bag that appeared to have some weight from
GLAS SBURN’S house to his vehicle. He loaded it inside the passenger compartment That
same bag was observed, outside of his apartment doorway at 703 Lincoln Ct., Apt. A, Port
Clinton Ohio, in a common hallway approximately seven days later on October 16, 2017, while
CARVALHO was making a trip to Colorado. It was sitting next to items that appeared to be
trash, as if it had been placed there to be discarded

On October 18, 2017, surveillance observed CARVALI-IO arriving at GLASSBURN’S residence
at 97 Rheem Street in Delaware. CARVALHO went into GLAS SBURN’S house upon his
arrival and then shortly thereafter came back out to his vehicle to retrieve a plastic bag that
appeared to have a knot tied in the top and took it back into GLASSBURN’S residence
Surveillance again observed CARVALHO visiting GLASSBURN’S Rheem Street address on

October 30, 2017.

CARVALHO is known by investigators to have taken at least five trips to Colorado during this
investigation On October 28, 2017, aher one of many discussions via text with GLASSBURN
about getting money from GLAS SBURN before he travels to Colorado, CARVALHO tells
GLASSBURN, “Don’t forget to clean your phones.”

On .1 anuary 4, 2018, law enforcement authorities conducted a traffic stop of CARVALHO near
Lincoln Nebraska. CARVALHO was returning to Ohio from Colorado. He was found to be in
possession of approximately 4.3 pounds of marijuana and some marijuana edibles.
CARVALHO declined to provide detailed information regarding his source of marijuana supply
in Colorado, but he agreed to cooperate with officials He described himself as a “weed guy,”
and admitted to engaging in marijuana trafficking transactions with GLASSBURN. Although
CARVALHO admitted to criminal wrongdoing, he seemed to minimize his wrongdoing in light
of phone records, text messages, surveillance observations informant information and
information (described below) provided from GLASSBURN.

As will be discussed in detail later in this affidavit, GLAS SBURN was arrested on an
outstanding warrant on January 31, 2018. After being advised of his Miranda rights,
GLASSBURN waived his rights and told investigators among other things, that CARVALHO
has supplied him with approximately seven pounds of marijuana per month for the last 2 ‘/2
years Put together, that would total approximately 210 pounds (95 kilograms) of marijuana
GLASSBURN reported CARVALHO picks up the marijuana from Colorado himself

Stevedore CRAWFORD

Two informants, one with direct access and knowledge, identified CRAWFORD as
GLASSBURN’S source of supply for cocaine and crack cocaine. Analysis of toll records shows

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CRAWFORD, using CP6, and GLASSBURN, using CPl, CP2 and CP3, have had 3,037
contacts from June 1, 2017 to February 9, 2018.

Court authorized electronic surveillance has shown GLASSBURN and PERSON A traveling
separately to the area of CRAWFORD’S residence between October and December, 2017, the
Baymont Inn and Suites located at 1100 Mediterranean Ave., Columbus, OH, on at least three
occasions during the course of this investigation The visits are less than 10 minutes in duration
with GLAS SBURN and PERSON A returning directly to 97 Rheem Street.

Through informant information and surveillance, it is known that CRAWFORD frequently
travels to Delaware to supply GLASSBURN and others with cocaine and crack cocaine.

Text conversations between CRAWFOR_D, using CP6, and GLASSBURN, using CPl, show
discussions consistent with drug traffickingl However, the majority of conversations between
GLASSBURN and CRAWFORD appear to be via phone call rather than text. Of the 2,925 total
contacts, 2,815 of those are phone calls as compared to only 110 text messages Because there
are numerous text conversations where amounts and types of drugs being bought and sold are
discussed, based on your afHant’s training and experience, it is believed the number of phone
calls indicates a cautiousness about what is written in text messages

For example on Apri120, 2017, in a text conversation GLAS SBURN said to CRAWFORD, “7.5
love to be cut with maybe creatine.. ...Shaled up right off the bat. But the product is good
CRAWFORD replied, “Ok yeah mine did same product real cool compared to other.”
GLASSBURN said, “Absolutely. ...biggest thing is the bee people like it.” CRAWFORD then
said, “'I'hat makes it 9.5 lol okay later bro.” GLAS SBURN replied, “Lost 5.7 GM’s recooking.
Product. . . .is ok. . .but not awesome by any means.” From your afliant’s training and experience
it is known this conversation shows GLASSBURN discussing the quality of cocaine sold to him
by CRAWFORD and how the cocaine reacted when it was cut with a. substance such as creatine

powder and cooked into crack cocaine.

ln a text conversation between GLASSBURN and CRAWFORD on May 2, 2017, CRAWFORD
said, “Seeing if you were cool before i start getting rid of this.” GLASSBURN said, “I could do
half.” CRAWFORD then asked, “Of flour or candy”. GLASSBURN replied, “Candy”. Later
that day, GLASSBURN sent CRAWFORD a text message saying, “Correction” followed by
another text message saying “Just a whole one of flower.” From training and experience, your
affiant knows the two men are discussing GLASSBURN initially agreeing to purchase what is
likely a half-ounce of crack cocaine (“candy”), and then changing his purchase to what is likely a
whole ounce of powder cocaine (“flower”) from CRAWFOR.D.

On May 31, 2017, GLASSBURN and CRAWFORD discussed cocaine that is a pinkish color
and how it was selling well for GLASSBURN. GLASSBURN texted, “Pink is a really good
success Cooked also a very good success Actually called both excellent Would do the pink.”
CRAWFORD responded, “Truly what we needed to have happen K_ick ass bro.”
GLASSBURN then responds, “Can you grab a whole one of hard tonight. l’ll run back down”,
and “Do the pink one bro.” Your Affiant knows from training and experience that
GLASSBURN is asking CRAWFORD to obtain one ounce of crack cocaine that is cooked from

cocaine that is pinkish in color.

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On January 10, 2018, investigators observed CRAWFORD conduct what appeared to be drug
trafficking transactions throughout Columbus and Delaware. CRAWFORD began and ended his
travels through Delaware and Columbus at 1100 Mediterranean Ave., Columbus, OH, the
Baymont Inn and Suites. F or portions of his travels that day, CRAWFORD had a minor female

with him.

On February 8, 2018, investigators observed CRAWFORD leave 1100 Mediterranean Ave.,
Columbus, OH, the Baymont Inn and Suites with a minor female. CRAWFORD’S activity was
consistent with conducting drug tracking transactions For all activities on .1 anuary 10, 2018 and
on February 8, 2018, CRAWFORD was driving in a maroon Mercedes bearing Ohio license
JAYLASD, VlN WDBEA30D8KA833189, registered to him.

On January 3, 2018, investigators determined CRAWFORD was renting room #326 in the
Baymont Inn and Suites located at 1100 Mediterranean Ave., Colurnbus, Ohio. On February 26,
2018, investigators determined CRAWFORD moved to room 322.

William COVRETT

Analysis of telephone toll records shows William COVRETT, using CP7, and GLAS SBURN,
using CPl, CP2 and CP3, have had 963 contacts from June 1, 2017 to January 3, 2018.
GLASSBURN and COVRETT have not had contact since January 3, 2018 on any known
numbers for GLASSBURN. One possible explanation for this could be that at certain times
since at least January 2018, GLAS SBURN has turned off his phones and has obtained a new
phone number that he did not provide to COVRETT. Records obtained for April 1, 2017
through October 29, 2017, of text messages between GLASSBURN and William COVRETT,
show COVRETT supplying GLAS SBURN on multiple occasions with marij uana, Xanax
(referred to as buses) and some type of opioid pills (referred to as grays), among others
COVRETT travels to Michigan to purchase at least some of the drugs he supplies to

GLAS SBURN. Text messages and pictures of receipts stored in the cloud for CPl show
GLASSBURN using the same nominee, PERSON B, as he used to send money to CA_RVALHO
in Colorado, to wire transfer funds to COVR_ETT in Michigan. Records obtained from Walmart
indicate that in 2015 , GLASSBURN wire transferred over $43,000 in approximately 26 different
transactions to COVRETT, and from October 25, 2016 through March 16, 2017, GLASSBURN
transferred over $11,000 in approximately ten different transactions to COVR_ETT. Some of
these transfers were in GLASSBURN’s own name, some in PERSON A’S name and some in

PERSON B’S name.

ln many text messages between GLASSBURN and COVRETT, the two discuss one of
COVRETT’S sources of supply in Michigan Whom he refers to as Mal. For example, on May
25, 2017, COVRETT texted GLAS SBURN saying, “l\/ial said he’ll be ready sometime this
weekend . 100grays $1500. +250wed. 200 buesses $1000. $2500 total. You can pay $2100 take
$400 off` my tab.” Then there is a series of text messages beginning on May 26, 2017 and ending
on May 29, 2017, where COVRETT waited to hear from GLAS SBURN about purchasing those
drugs nom Mal. On May 30, 2017, COVRETT texted GLAS SBURN, “Just talked to mal. Told
him id be up tonigh .” On May 31, 2017, COVRETT told GLASSBURN he was headed to
Delaware to pick up money from GLASSBURN for the drugs to be purchased nom Mal.
GLASSBURN responded, “l’m on a run buddy trying to put everything together. 1’11 hit you up

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in abouhour.” COVRETT replied in part, “Ok bro. 1 just dont want us to lose this hustle with
the vitamins fiom michigan We worked way to hard and long to let them find someone else to
take our place. Lol.” GLAS SBURN texted, “Right on.” A little over an hour later, COVRETT
tells GLASSBURN the ntunber and strength of opiate pills he will be purchasing from Mal by
texting, “130 20s. 50 30s.” Based on your affiant’s training and experience it is known that the

word “vitarnins” is referring to pills

On the following day, June 1, 2017, COVRETT and GLASSBURN discuss the prices of pills
coming from Michigan. COVRETT texted in part, “$1950 for 130 grays. $1000 for 50 blues.
Total is $2950.” GLAS SBURN indicated he was having trouble getting the money together but
texted, “I’ll make it happen somehow.” Based on your affiant’s training and experience it is
known that the words “grays” and “blues” are referring to various types of opioid pills.

Text messages and photos sent from COVRETT to GLASSBURN indicate the two men invested
in a marijuana growing operation:

On April 18, 2017, COVRETT sent a text message to GLASSBURN saying “Babysl l l !”
Attached to the text message was a photo of at least 17 potted marijuana plants

Fourteen minutes later, GLAS SBURN responded, “Awesome [smiling face with smiling
eyes emoji].”

On April 21, 2017, COVRETT sent a series of text messages to GLASSBURN about the
marijuana growing operation Among other messages, COVRETT texted, “l-Iit me up
bud gotta talk to u about clones.” COVRETT then sent two messages with no text, but
with screenshots attached 'l"he screenshots showed portions of another text message
conversation COVR_ETT was having with a person named “Brian.” The screenshots
showed “Brian” texting COVRETT, “Hi .. We’ll be moving out of here the beginning of
the week! I will need ther money $$ for housing them, because my electric bill with high
the past three months.” Then “Brian” sent a photo of one or more marijuana plants The
screenshots showed that, in response, COVRETT texted “Brian,” “OK let me talk to my
partner in crime. I got $200 in glove box out back in dads old truck. Let my call my
partner in crime in ohio ill get u the rest. lll come get them late tonight sometime.” Ader
sending those screenshots, COVRETT texted GLASSBURN, “Call me bro.” Then
COVRETT texted, “Bro i hope u realize how small of a price it"ll be to pay for these
plants Come fall you and i wont need to buy green from anyone for a long time. Im
gonna be a planting machine come late june and jul.”

On April 23, 2017, COVRETl` sent four text messages with photos, each of which
depicted a marijuana growing operation The first message contained no text, but showed
at least 5 marijuana plants The second message contained no text, but showed at least 3
marijuana plants and a white plastic jug. The third message said, “Put this is for scale. To
give u idea how big they are.” The third message had a photo attached of a white plastic
jug with a tape measure next to it. The fourth message said “Hope you like what u see
bro. You and i are gonna be in great shape. See you soon.” The fourth message had a
photo attached of a hand holding a marijuana plant and the soil it was planted in

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On April 30, 2017, COVRETT sent GLASSBURN a screenshot of another text message
conversation offering “some 75 0,” which seems to reference prescription pills

On May 3, 2017, COVRETT sent GLASSBURN a text message saying, “I got them. But i don’t
have my car. Waiting on dad. Ill be there adap.” Attached to the text message was a photo of a
prescription pill bottle. One minute later, GLAS SBURN replied, “Ok.cool.. did you get Ms

Walker?”

On May 5, 2017, COVRETT sent GLASSBURN a text message saying, “Cherry Pie and Death
Star.” Attached to the text message was a photo of a baggie of marijuana

On May 21 , 2017, COVRE'IT sent GLASSBURN a text message with no text, but attached a
screenshot of a text message conversation with another individual. The other person wrote, “I
have a hundred foot balls.” COVRETT replied, “Xanax?” The other person wrote, “Ya.”

On July 18, 2017, COVRETT sent GLASSBURN a text message with no text, but attached a
photo of a baggie of pills

Text messages also show GLASSBURN supplying COVRETT with Xanax, Adderall and
Suboxone with language similar to the language referenced above.

Trash Recoveries from Locations Associated with GLASSBURN’ S Drug/Gun Activitv

Investigators have obtained trash discarded at the curbside of the following addresses with the
following results:

a. 97 Rheem Street, Delaware, OH: Trash has been pulled nom this address on five
occasions from September 11, 2017 to January 29, 2018, All five trash pulls from
this address produced positive results, with the trash containing items consistent with
drug use and drug trafficking Exarnples of items found discarded in the trash have
been items such as syringes, cut corners of plastic baggies, plastic baggies, cut straws,
razor blades, among other items indicative of drug use and drug trafficking Some of
the drug paraphernalia recovered had white powder residue that field-tested
presumptive positive for cocaine. Mail found in the trash included a letter addressed
to 97 Rheem St. to Nicholas Glassburn mail addressed to Nicholas Glassbum at 22
Estelle St. Delaware, Ohio, and mail addressed to a person investigators believe
helped GLASSBURN pay off his drug debt to CARVALHO, described above. Also
found were several drug ledgers and three empty plastic containers that contained
marijuana residue and a strong odor of marijuana, empty vacuum sealed plastic bags

and an old military style tactical magazine carrier.

b. 22 Estelle Street, Delaware, OH: Trash has been pulled nom this address on five
occasions from December 11, 2017 to January 29, 2018. Three of the five trash pulls
have produced positive results for a presence of weapons and drugs at the location
Trash pulled nom this address produced mail addressed to 22 Estelle Street, a tom
box for a .22 caliber ammunition dispenser, an empty box of .22 long rifle
ammunition an empty box of 9mm tap rounds and in the most recent trash pull on
January 29, 2018, four used syringes and several torn pieces of plastic bags

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DRUG TRAFFICKING ACTIVITY BY DELCOL

Investigative methods have confirmed that DELCOL has at least two individuals to whom he
Supplies drugs, and from whom he receives drugs

Nicholas GLAS SBURN

On July 17, 2017, DCDTF detectives conducted surveillance at the GLAS SBURN residence
The Pen Register was active which allowed detectives to observe live calls at the time of the
surveillance GLASSBURN had left his residence in the atteman driving one of his known
vehicles, a silver Toyota 4Rurmer, bearing Ohio license plate GYV-7802. DCDTF detectives
observed GLASSBURN conduct meetings short in duration one of which was a hand-to-hand
exchange from his vehicle passenger’s side window. GLAS SBURN returned to his residence
From approximately l:l9pm to l:51pm, according to CPl ’s Pen Register, there were 4 incoming
and 3 outgoing text message communications between CPl and DELCOL’S cellular phone
number, CP4. CP4 is subscribed to by DELCOL, is associated with DELCOL in law
enforcement databases, and is also the number used by a Mt. Gilead officer to contact DELCOL
on August 9, 2017, as will be discussed later in this Affidavit. Then at approximately 4:31pm
DELCOL, using CP4, sent a text message to GLASSBURN, on CPl. DCDTF established
surveillance in area of the GLASSBURN residence shortly thereafter and DELCOL sent 6
additional text messages to GLASSBURN. During that tirne, GLASSBURN sent 2 outgoing text
messages to DELCOL. DCDTF surveillance observed DELCOL arrive in the area of the

GLAS SBURN residence at approximately 5:24pm, driving a blue Mercedes bearing only a rear
Ohio registration plate of GOA-8170. This vehicle is registered to a person who lives with
DELCOL. There were no other occupants in the vehicle At approximately 5:27pm DELCOL
parked at the front of GLAS SBURN’S residence At approximately 5:35pm DELCOL was
observed leaving the GLASSBURN residence in the blue Mercedes There were no further
cellular communications captured on the Pen Register between GLASSBURN and DELCOL on
July 17, 2017. DELCOL was observed by DCDTF detectives leaving the area by himself in the
blue Mercedes sedan The content of the above referenced July'17, 2017 text messages were not
included in information provided by VZW in response to an October 2, 2017 search warrant for

information stored by VZW.

On Friday July 21, 2017, Detectives set up surveillance in the area of GLASSBURN’S residence
after observing Pen Register activity between GLASSBURN and DELCOL, which began at
approximately 7:10pm. At approximately 7:49pm, a detective observed DELCOL’S blue
Mercedes sedan parked at the front of the GLASSBURN residence DELCOL departed at
approximately 8:04pm from the fi'ont of the GLASSBURN residence The Pen Register
reflected 8 calls/text messages between CPl and CP4 from approximately 7:10pm to 11:15pm.
There were no records provided by VZW for the date of July 21 , 2017.

On Wednesday August 23, 2017, DCDTF detectives collected the curbside trash, set out for
pick-up, fiom DELCOL’S residence located at 201 Aaron Court, Delaware, Ohio. There were
documents in the trash addressed to DELCOL at the residence where the trash was collected
There were two prescription bottles in DELCOL’S name for Alprazolarn and Tramadol.
lnvestigation has shown that DELCOL has been prescribed controlled substances

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On September 20, 2017, DCDTF detectives collected the curbside trash, set out for pick-up, from
DELCOL’S residence located at 201 Aaron Court, Delaware, Ohio and found an empty
prescription bottle of 50mg tramadol with DELCOL’ S name, atom piece of a prescription for
testosterone and several empty packages of gun accessories

On January 18, 2018, DCDTF detectives collected the curbside trash set out for pick-up from
201 Aaron Court and found mail addressed to DELCOL family members at 201 Aaron Court, a
two piece high profile gun scope ring box that was empty and a used syringe

On February 14, 2018, DCDTF detectives collected the curbside trash set out from 201 Aaron
Court and found mail addressed to .1 ason DELCOL, three empty boxes of prescription
Testosterone CYP 200 milligram which were written on January 15, 2018, empty packages that
had contained gun parts and an empty foil package that had contained a Clonidine patch.

On February 21, 2018, DCDTF detectives collected the curbside trash set out from 201 Aaron
Court and found mail addressed to Jason DELCOL, one used syringe, an empty prescription
bottle for Jason DELCOL for Tramadol, a receipt from Kroger indicating the purchase of
Tramadol, an empty package for a gun part, an empty package for a gun sling and a packet of
Delaware Municipal court documents for Nicholas GLAS SBURN.

The FBI installed cameras to assist with surveillance of GLASSBURN’ S residence Using the
cameras, law enforcement has observed DELCOL visiting GLAS SBURN’S residence at 97
Rheem Street on more than sixteen occasions since October 5 , 2017. As described above, in the
middle of 2017 , DELCOL was observed by physical surveillance present at the GLASSBURN
residence in a blue Mercedes. Upon installation of the cameras, DELCOL has been observed
arriving driving a 2004 White Acura bearing OH license HAS 6097. DELCOL has also arrived
driving his OSP marked cruiser and wearing a uniform, complete with a gun belt, during at least
two of those visits The majority of visits were ten minutes or less On some visits DELCOL can
be seen going into or out of 97 Rheem Street with his hands in his pockets; however on a few
occasions he can be seen carrying a bag or small item into or out of the residence On at least
two visits DELCOL can been seen checking the mailbox of 97 Rheem Street; this includes one
time while in uniform. From text messages obtained from GLASSBURN’S phone, CPl,
investigators know GLASSBURN and his drug customers make drug and money exchanges
using the mailbox at 97 Rheem Street. lt is known to investigators that, for much of the period
of investigation DELCOL typically took his OSP cruiser horne after his shift. The cruiser has
been observed on numerous occasions parked in the front of 201 Aaron Ct., Delaware, Ohio.
However, it should be noted that investigation has shown as of at least February l, 2018,
DELCOL lost the privilege to take the cruiser home after his shift. Therefore, as of February l,
2018, it is possible others have had access to the cruiser and may have driven the cruiser during
shifts other than the shift when DELCOL. would be driving it.

Consistent with surveillance observations trash pulls and informant information text message
content for CPl and CP4 obtained pursuant to federal search warrants show conversations
between DELCOL and GLASSBURN about drug trafficking transactions There are hundreds
of text messages from April 2017 through October 2017, between DELCOL and GLASSBURN
discussing buying and selling various types of drugs and drug paraphernalia such as I-_lGl-l,
testosterone needles, syringes, Xanax, Percocet and possibly other opioid pills, as well as

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conversations about when and where to exchange the drugs and about payment for the drugs
Text messages show both DELCOL and GLAS SBURN have arranged to visit or visited each
other’s residences to conduct drug trafficking transactions Those residences are located at 201
Aaron Ct., Delaware, Ohio and 97 Rheem Street, Delaware, Ohio. Below are examples of just a

few such conversations

Text conversation, in part, on April 4, 2017 , using coded language or the street slang
“bars”, which is believed by your affiant through training and experience to be Xanax,
which is supplied to DELCOL, by GLASSBURN:

DELCOL: U still have any left

GLASSBURN: Yes. Bars

DELCOL: K, get with u after work

DELCOL: U available anytime soon

GLASSBURN: Yes. 20 min. My place

DELCOL: OK. Can u Spot me till I get paid? If not l understand
GLASSBURN: Sure can.

DELCOL: Ok thanks

Text conversations, in part, between June ll, 2017 and June 13, 2017, using coded
language or the street slang “bars and balls” and “7.5’s”, which are believed by your
affiant through training and experience to be Xanax and Percocet or Oxycodone, which is
supplied to DELCOL by GLAS SBURN:

GLASSBURN: I got those bro. Both you asked about. Bars and balls Some
things for your old ass arthritis to LOL

DELCOL: Right, U gonna be there in about an hour or so. Does later today or
tomorrow work better for u to grab those nom u. Think about 30 balls

GLASSBURN: I will be home about 9:30 tonight. If that works for you. Or
tomorrow works also.

DELCOL: I will have to do tomorrow if that’s cool. Balls and maybe a few more
7.5 if u have them or whatever. But I will take the balls

GLASSBURN: Gotcha bro

DELCOL: Cool see u tomorrow

Text conversations in part, between September 8, 2017 and September 19, 2017, about
HGH or another type of injectable steroid, which is supplied to GLASSBURN by

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DELCOL, and about DELCOL, using coded language or street slang, seeking “footballs”
or “30’s”, which are believed by your affiant through training and experience to be
Xanax and 30 milligram Percocet or Oxycodone pills:

DELCOL: Did u get any footballs yet

GLASSBURN: No football game yet

DELCOL: K will be over after Court be about 130 or 2 have items for
DELCOL: Ur Stuff is in already.

DELCOL: Let me know how that stuff works for

GLASSBURN: Sure will Bro..

DELCOL: Need u to save me a few 303 I will get u the cash for them
DELCOL: U gonna be home in the morning?

DELCOL: Call me. Forgot to tell u try that new stuff today. Because if u like it
and want more 1 will get it. He didn’t have many of those but they are being held
to see if u want them or not

GLASSBURN: 1 ml..? And what is it. ln arm correct?
DELCOL: Yep lml in arm it’s prop. On steroids! !! Lol. Triple the regular does

GLASSBURN: [smiling face with smiling eyes emoji and smiling face with
sunglasses emoji]

Text conversations in part, between June 23, 2017 and June 29, 2017, about HGH, which
is supplied to GLASSBURN by DELCOL:

DELCOL: U gonna be around later today got [moneybags emoji]. Have it
tonight

GLASSBURN: You are the man [winking face emoji]
DELCOL: U gonna be there

GLASSBURN: Yes

DELCOL: K. Going to get it then headed over

GLASSBURN: Cool deal. What do you happen to have tips and a syringe? I
usually use a one to pull it up in a 3/4 to shoot it with

DELCOL: Got it all

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GLASSBURN: Freekin awesome [smiling face with smiling eyes emoji]
DELCOL: Should have HGH shortly

GLAS SBURN: You are the best bro

DELCOL: l won’t go that far but l will hook u up. He said Friday at the latest. 2
month supply is 500.00 for 10 bottles

GLASSBURN: Right on... Thank you so much brother... Can I give it to you
after payroll Friday or Saturday morning

DELCOL: Ok l will get it

GLASSBURN: l can make it happen tomorrow bro. Some things should come
together for me

DELCOL: Ok. l will call you in the afternoon I gotfa hook up With him first then
I’Il get it to u.

DELCOL references a source of supply in text conversations with GLASSBURN. investigation
has shown that at least one of DELCOL’S suppliers of steroids and pills is Benjamin OWINGS.
OWINGS is also a customer of DELCOL, buying and receiving pills Text messages show
DELCOL is a middleman between GLAS SBURN and OWINGS. OWINGS supplies steroids to
DELCOL, which DELCOL sells to GLASSBURN, and GLASSBURN sells pills to DELCOL,
Which DELCOL sells or gives to OW]NGS.

Ben OWINGS

Text message content obtained for DELCUL’S cell phone, CP4, reveals text conversations
between DELCOL and OWlNGS, using CPS, about methods prices and types of illegal drugs
DELCOL is buying from and selling to OW]NGS. Some of those drugs include HGH,
Testosterone Propionate, Winstrol ‘v', Viagra, Percocet, Oxycodone and possibly other opioid
pills These texts also include conversations about when and Where to exchange the drugs and
about payment for the drugs Text messages show both DELCOL and OWINGS have visited
each other’s residences to conduct drug trafficking transactions Those residences are located at
201 Aaron Ct., Delaware, Ohio and 662 Fern Drive, Delaware, Ohio. Below are examples of

such conversations

Text conversation, in part, on June 12, 2017, about Viagra, which OW]NGS agrees to
Supply to DELCOL:

OWINGS: 1.37 pounds is Arnerican dollars.... 87 pounds times 1.37 is whatvthe
viagra cost w shipping nLol you do the math..

DELCOL: Ok

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OWINGS: 119.19... shipping is 10$$ nl’ll ask [a co~Worker] at work tomorrow
on what his 5 Omg pills are going for ...... but ill get a hold of you tomorrow to

throw you one..

Text conversations in part, between July 8, 2017 and July 9, 2017, about, “pink things in
203”, believed by your affiant through training and experience to be 0xycodone, which is
supplied to OWINGS by DELCOL:

DELCOL: U just got lucky l saw my buddy last night. And he has those pink
things in 203

OWINGS: Bought time i get lucky in life lmao

DELCOL: l found out if u take a whole 20 u get sick and a headache
OWlNGS: Fuck all that mess !I!I

DELCOL: Yeah not a good idea at all. Stick with 10

OWINGS: l think so I!I

DELCOL: Yep 10mg is enough, trust me. l tried it out

Text conversation, in part, on July 14, 2017, about “lOs”, believed by your affiant
through training and experience to be 0xycodone, which is supplied by OWINGS to
DELCOL:

OW]NGS: You working today ??

DELCOL: Yep

OW]NGS: lf your around my work pull in the back to door 4 ill come out and
give you those lO’s you like b4 i eat them all ..lol

DELCOL: K. Walk out

Text conversation, in part, on July 17, 2017, about, “20’s” and “bacwater”, believed by
your affiant through training and experience to be Oxycodone and bacteriostatic water
used to allow for repeated withdraws from vials of injectable drugs:

DELCOL: U get those 20s

OW]NGS: Negative

DELCOL: Not very reliable. Do 11 know where to get the water for the growth,
the bacwater

OWINGS: Not 100% bc ive never delt w it but i can see What i can do

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Text conversations in part, on September 8, 2U17 and September 9, 2017, Wherein
OWlNGS directed DELCOL Where within OWINGS residence, located at 662 Fern
Drive, Delaware, Ohio, DELCOL could find bottles of inj ectable growth hormone,
needles and syringes, and wherein DELCOL told OWINGS he would try to get some

“30’s” (believed by your Afiiant to be Percocet):
DELCOL: [racial epithet]. Need that shit. l will just get it the morning

OWlNGS: That’s fine

DELCOL: Where u gonna leave the stuff, hopehrlly not out on the counter! !!
Need pins too the 30 and some 25. If he has the 30’s l will bring them back to

your house and drop a few off

OWINGS: Sliding door is unlocked on kitchen table in the crock pot everything’s
in the bag

OW[NGS: Yey or ney
DELCOL: ? What
OWINGS: Did he have any P

DELCOL: No he didn’t have them yet, and l am headed to Portsmouth to camp.
He will have them later tonight and save u some

This conversation is significant because it occurred at or about the same time DELCOL texted
with GLASSBURN about getting money from GLAS SBURN to put in an order for what is
presumed to be HGH or another type of steroid, and then to drop off to GLAS SBURN what was
ordered aRer picking it up from a third party. At this same time, DELCOL also asked
GLASSBURN if he had any footballs and GLAS SBURN said he did not. As noted earlier in this
affidavit where a portion of this text conversation was quoted in part, “footballs” is the street
slang term for Xanax and the 30’s, as stated above are 0xycodone. This is not the only example
found in text records obtained in this investigation of simultaneous text exchanges between
DELCOL and GLAS SBURN, and DELCOL and OWlNGS where DELCOL is a middleman

between the two for drug trafficking transactions

The following text exchange on September 12, 2017, shows OW]NGS coordinating a
pick up of narcotics from DELCOL at his residence at 201 Aaron Ct., Delaware, Ohio
when DELCOL is without a car to drive the drugs to OWINGS’S residence:

OW]INGS: I’ll come your way [racial epithet]

DELCOL: Hurry l don’t know when she will be back. l have 2 305 for u. Can u
bring the hg so if she gets home we can say u are dropping it off

OW]NGS: Ya. Ok put them in my pocket

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OWlNGS: How long before u get here

Analysis of phone records shows that between October 30, 2017 and February 20, 2018 there
were 365 contacts between DELCOL and OWlNGS. Two hundred of those contacts were text

messages and 165 of them were phone calls

On February 9, 2018, DCDTF detectives collected the curbside trash set out from OWINGS’S
residence located at 662 Fern Drive, Delaware and found mail and other documents addressed to
Benjamin OWlNGS, and an empty plastic bag that had contained a THC edible for which the
packaging indicated there was 70 milligrams of THC crunch. A THC edible package was also

found in the trash on February 23, 2018.

Surveillance and text messages show DELCOL going to ATMs just before or just after visiting
97 Rheem Street, Delaware, Ohio and 662 Fern Drive, Delaware, Ohio. ln text messages
DELCOL referenced needing to stop at an ATM to get cash for payment for drugs A review of
DELCOL’S bank records from February 2012 through October 27, 2017, shows there were 119
cash withdraws within that tirne. There were no cash deposits until January 2015, and since that
time there have been fifty-five. The address associated with the account, which is in DELCOL’S
name, is 201 Aaron Court, Delaware, OH. Discarded letters from DELCOL’S bank, addressed
to him at 201 Aaron Ct., Delaware, Ohio, have been found in the trash at 201 Aaron Couit,

Delaware, Ohio.
DELCOL’S SUPPORT OF CRIl\/ll'NAL ACTIVITY

Witness Tampering_l\/lount Gilead Trafiic Stop of GLASSBURN

On Saturday August 5, 2017, at approximately 4:34am, Mt. Gilead Police officers encountered
GLASSBURN asleep at the wheel in his dark green 2002 Nissan Pathiinder, bearing Ohio
license plate GSP~8796. While speaking with GLASSBURN, Who claimed to be just tired,
officers observed a cardboard box and a camouflage bag in the back seat with a drug pipe in it.
Oflicers conducted a search and located 13.93 grams of a substance that tested positive as
cocaine and three items totaling 7.42 grams of substances that tested positive as cocaine base.
The Ohio Bureau of Criminal lnvestigation Laboratory tested all substances on January 17, 2018.
GLASSBURN gave both a verbal and a written statement that he had found the drugs in one of
his children’s rooms at his residence in Delaware and had removed them. GLASSBURN told
the officer he called an OSP Trooper niend of his Jason DELCOL, whom he had asked for
advice on what to do with the drugs Another officer who responded to the scene of the trach
stop, a Morrow County Sheriff’s Deputy, had GLASSBURN, using CPl, call DELCOL on CP4
(the Deputy took note of the number GLAS SBURN dialed) to verify his story. 'l`he Deputy
spoke with DELCOL who verified GLASSBURN had children who were problems and also said
he did not know GLAS SBURN to be involved with drugs DELCOL engaged in this misleading
conduct toward the officer with the intent to hinder, delay, or prevent the communication to a
law enforcement officer of the United States of information relating to the commission of a
Federal off`ense. Officers released GLASSBURN The evidence was collected. On August 5 ,
2017, at approximately 5:09am, PERSON A, using CP9, sent a text message to GLASSBURN
which said, “On 42 heading to you be there shortly Jason just text and said he spoke with you”

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On Wednesday August 9, 2017, at approximately 7:25am, as part of a follow-up investigation, a
Mt. Gilead officer made contact with DELCOL, on CP4, to further discuss the GLASSBURN
traffic stop. ln the recorded call, DELCOL identified himself as Trooper Jason DELCOL and
explained his relationship with GLASSBURN by saying they went to high school together.
DELCOL confirmed again that GLASSBURN had contacted him about finding some
drugs/paraphernalia DELCOL said he told GLASSBURN his options were to throw it away or
take it to the Sheriff"s Office and have it destroyed DELCOL told the officer he could not recall
much personal information about GLASSBURN’S children, saying he and GLAS SBURN were
not that close. DELCOL then went on to say he did not think GLASSBURN had been in much
trouble. He said he knew GLAS SBURN to have Hepatitis C, which has caused his liver to shut
down, and as a result GLASSBURN is dying. DELCOL said he and GLASSBURN do not talk
that often. Aga.in, DELCOL engaged in this misleading conduct toward the officer with the
intent to hinder, delay, or prevent the communication to a law enforcement officer of the United
States of information relating to the commission of a Federal offense Approximately one hour
after speaking with the Mt. Gilead officer, according to_ a Pen Register on CP4, DELCOL
initiated contact with GLASSBURN. A total of` 17 contacts (in a previous affidavit, this was
erroneously reported as 17 text messages) between DELCOL and GLASSBURN, starting at
8:26am and ending at 6:44 pm, occurred on August 9, 2017. Between 6:03pm and 6:44pm, there
were six text messages The content of the above referenced August 9, 2017 text messages were
not included in information provided by VZW in response to the October 2, 2017 search warrant
for information stored by VZW. However, text content was provided for an August 8, 2017 text
message PERSON A forwarded to GLASSBURN from DELCOL wherein DELCOL texted
PERSON A saying “As soon as he can call me he needs too, have mount Gilead pd calling me.”
This was one day before DELCOL returned the call to the Mt. Gilead detective following up on

GLASSBURN’s same stop.

As is discussed elsewhere in this affidavit, GLASSBURN was arrested on an outstanding
warrant on January 31, 2018. After being advised of his Miranda rights GLASSBURN waived
his rights and spoke to investigators Contrary to what both GLAS SBURN and DELCOL told
the Mt. Gilead officer in August 2017, GLAS SBURN denied that his children had drug

problems

Assault Charges Against GLASSBURN

DELCOL has also intervened in criminal court proceedings on behalf of GLAS SBURN.

GLAS SBURN was charged with assault in September 2017, and DELCOL has since visited
GLASSBURN’S probation officer at the Delaware Municipal Courthouse, in uniform, on two
occasions to discuss the terms of GLASSBURN’S probation. On the frrst occasion, on
November 14, 2017, PERSON A arrived at the courthouse to post GLASSBURN’S bond.
DELCOL also arrived at the courthouse, in uniforrn, accompanying PERSON A to meet with the
probation officer. DELCOL was present to pay the fees associated with the GPS ankle-
monitoring device GLASSBURN was ordered to wear as a condition of his release. DELCOL
used his personal credit card to pay the required $130.00 deposit for the ankle device.

A review of the pen register data for DELCOL’S phone, CP4, shows that from November 13,
2017 through approximately 11:00am on November 14, 2017, there was one phone call with
GLASSBURN and two text messages and six phone calls with PERSON A on CP9.

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On October 16, 2017, DELCOL contacted a prosecutor in GLASSBURN’S assault case.
DELCOL told the prosecutor the behavior described by the victim was uncharacteristic for
GLAS SBURN and the charges should never have been filed against GLAS SBURN. DELCOL
told the prosecutor that while he was not present at the incident, GLASSBURN only pahned the
victim about the face. DELCOL also told the prosecutor he had recommended to GLASSBURN
that he fire the attorney who had initially represented him and to hire an attorney who DELCOL
said would win the case against the prosecutor.

As mentioned above, on February 21, 2018, DCDTF detectives collected the curbside trash set
out from 201 Aaron Court and found, among other items a packet of Delaware Municipal court
documents for Nicholas GLAS SBURN.

Arrest of OWINGS

DELCOL has also intervened in official law enforcement business on behalf of his other drug
supplier and customer, Benj amin OWINGS. On November 23, 2017, the Delaware City Police
Departrnent was called to 662 Fern Drive, the residence of OWINGS, as the result of a woman
who appeared at the window of` a police cruiser with signs of physical abuse, claiming to have
been beaten and held against her will by OWlNGS. During this incident, DELCOL, in uniform
showed up and advised that he was a friend of OWINGS and he could assist the police
department with getting OWINGS to come out and speak with officers OWlNGS eventually
came out of his residence and was taken into custody and charged by indictment in the Delaware
County Court of Common Pleas with felony Abduction, misdemeanor Assault, and misdemeanor

Aggravated Menacing.

Arrest of GLASSBURN

On January 31, 2018, GLASSBURN was arrested on an outstanding warrant for failure to appear
in a Delaware Municipal Court proceeding related to the assault charge. For at least two weeks
leading up to this arrest, GLAS SBURN was not seen by law enforcement surveillance and he
had stopped using the three cellular phone numbers known to law enforcement to have been used
by him. Your affiant knows based on training and experience that people who attempt to evade
law enforcement when they know there is a warrant for their arrest will often stay at unusual
locations and obtain a new cellular phone number.

 

Upon his arrest, GLAS SBURN revealed a new cellular number to law enforcement officers 740-
417-5843, referred to as CP10 in this affidavit At or around this same time, it was determined
that PERSON A, through two separate contacts with law enforcement resulting from a traffic
stop and an outstanding warrant, had also obtained a new cell number, 740-417-5414, referred to
as CPll in this affidavit PERSON A provided an additional contact number to law enforcement
officials - 740-994-1660, referred to as CP12 in this affidavit - which she said belonged to a

relative of GLASSBURN.

A review of DELCOL’S phone records (CP4) showed contact with CPll and CP12 at the time
of and following the arrest of GLASSBURN This phone activity is consistent with the phone
activity and actions sturounding GLASSBURN’S Mt. Gilead traffic stop and DELCOL’S
intervention in GLAS SBURN’S assault case. There were 42 contacts with CPl 1, PERSON A’S
phone, between the date of GLASSBURN’S arrest on January 31, 2018, and February 1, 2018,
when GLASSBURN bonded out of jail. This contact between PERSON A and DELCOL is

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consistent with communication between the two when Mt. Gilead Police encountered

GLAS SBURN in August 2017 and when GLAS SBURN was incarcerated in November 2017 for
failing to comply with the terms of his release on the assault case. On February 3, 2018, there
were 6 contacts between DELCOL and CP12, GLASSBURN’S relative’s phone. Your affiant
knows from training and experience that using another person’s phone is consistent with a
person’s actions who is attempting to avoid detection by law enforcement This is confirmed by
the fact that records do not show any calls between CP4 and CP 1 0, the new phone obtained by
GLASSBURN, during this time period. Also, the continued contact by DELCOL with
GLASSBURN, even after his criminal legal issues is indicative of a person who continues to
sell to and seek to buy drugs from someone with whom they feel comfortable and who they feel
they can trust From your affiant’s experience, law enforcement officers who traffic in narcotics
attempt to minimize the number of people with knowledge of their illegal activity to minimize

the risk of being caught

On February 9, 2018, a federal search warrant was executed on VZW for text message content
for DELCOL’S cell phone, CP4, for all texts being stored at VZW beginning on or about January
30, 2018. The text messages showed PERSON A communicating with DELCOL. ln one text on
February 3, 2018, PERSON A told DELCOL, in part, “Nick is going to call you on this line in a
minute.” ln that same text, PERSON A said they were using a text application. Your affiant
knows from training and experience, people use text applications over the intemet when they
cannot afford to or have no data left to send and receive texts through the cell service provider,
or when they are attempting to hide text messages ln the text messages PERSON A is trying to
raise money. The text messages discuss how PERSON A will take $1,100 for a car because they
need to raise bond money for GLASSBURN by 10am on February 1, 2018. ln trying to assist
getting GLAS SBURN out of jail, DELCOL agrees to contact a relative of his to see if they are
interested in purchasing a car from GLAS SBURN. Your affiant knows fi‘om training and
experience, law enforcement officers who are conspiring to commit drug trafficking and other
crimes have a vested interest in making sure their co-conspirators do not go to jail or do not stay
in jail. When a co-conspirator is incarcerated, it decreases their drug supply and profitability,
and increases the risk the co-conspirator will cooperate with law enforcement

Ultimately, DELCOL’S relative did not purchase the car, and in a text message between
DELCOL and 740-217-2053 on February 8, 2018, DELCOL says “sorry to hear that man, i have
tried to get him to buy that car but they don’t want to work on it. how can i help u out?” While
the telephone number associated with this and other similar texts is not known to investigators it
appears from the context that DELCOL is texting with GLAS SBURN. fn text exchanges with
this number on February 1, 2018, DELCOL can be seen arranging to visit GLASSBURN at
either the “house or the apartment”, which are known to investigators to be the house at 97
Rheem Street or the apartment at 22 Estelle Drive. lnvestigation has shown that DELCOL visits
GLASSBURN only for the purpose of conducting activities related to drug trafficking lt is
known to investigators that GLASSBURN was released from jail on bond on February 1, 2018,

Based on training and experience it is known to your affiant that people involved in drug
trafficking, including law enforcement officers show indicators of their illegal activity through
use of cell phones that can be seen through the analysis of toll data associated with target cell
phones as well as pen register data collected on those phones and text content Data collected
associated with the target phones in this investigation, as well as information provided by

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independent reliable informants and observations made by investigators during surveillance
indicate there is probable cause to believe DELCOL, GLASSBURN, and others listed herein are
using the referenced cellular telephones at key times surrounding drug trafficking activity and
misuse of an official position, and that the content of the information stored on the devices for
which search warrants are sought, may contain evidence of` illegal drug transactions evidence of
corruption of public officials and may identify others involved in particular criminal acts Also,
the same data collected associated with the target phones in this investigation, as well as
information provided by independent reliable informants observations made by investigators
during surveillance and through the review and analysis of records obtained in this investigation
pursuant to Grand Jury subpoenas and federal search warrants indicate there is probable cause to
believe DELCOL, GLASSBURN, CARVALHO, CRAWFORD, COVRETT, and OWINGS
have violated, individually or collectively as designated in the Arrest Warrants sought by
Compla.int, the crimes listed above in the “Purpose of the Affidavit” section.

CONCLUSION

Based on the foregoing facts your affiant believes there is probable cause to search the locations
listed above in the “Purpose of the Aflidavit” section for the crimes listed in that section. Based
on the foregoing facts your aHiant further believes there is probable cause to arrest the
individuals listed above in the “Purpose of the Affidavit” section for the crimes listed in that
section.

APPLICATION FOR SEALING ORDER

Release of the information contained in this affidavit and related papers is likely to hinder and
impede this continuing investigation Accordingly, it is respectfully requested that this Af`fidavit,
the Search Warrants Applications for Search Warrants Arrest Warrants, and the Complaints
(except for such copies as are necessary for their implementation) be sealed until further Order of
the Court so as to not jeopardize this ongoing criminal investigation

l respectfully request that the warrants be issued and sealed.
Respectfully submitted,

Tr_sh/a M. Hartsough / \“ '
Special Agent
Federal Bureau of lnvestigation

Sworn to and subscribed before me this Z@n:iay of February, 2018 at Columbus Ohio.

MnGi/"f'lisuégamw

 

ELIZAB@YH PREs oN D
U.s. MAGISTRATE

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